Silk Roadse 1°FF2h60d6ECS"BLMMent 256-9 Filed 05/26/15 Pagelof2. *

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Methylone 205 =
4-EMC 2 28gr (loz) PURE Crystal Methylone *DOMESTIC* |
4-MEC 14 3
5-APB 4 seller: PablosPuro 0.0 2 B2.8002
GIT 3 ships from: United States of America 1 add to cart
Butylone 7
MDA 49
MDMA 513
MPA i 5
Penotonss 112gr (40z/QP) PURE Crystal Methylone 7
Pentylone 1 *DOMESTIC* 88.9569
Fils 407 seller: PablosPuro 0.0 1 an eet
Cannabis 2 a ms ships from: United States of America
Dissociatives 203
Intoxicants 71
Opioids 265
oe 100 GRAMS OF HUGE 99.9% PURE METHYLONE 3
recursors 62
Prescription 4,650 CRYSTALS =
Psychedelics 1,746 seller: Jack N Hoff 0.0 4 ee
Stimulants 1,644 ships from: China
Tobacco 218
Apparel 753
Art 14 < i E
Books 1,322 rR 1 Kilogram OF 99.8% PURE METHYLONE FREE :
Collectibles 26 ras a 4 eo SHIPPING 3 821.0030
Computer equipment 100 x ' z sedan Gaal
Custom Orders 87 seller: DRGONZO 0.0
Digital goods 92 . ships from: undeclared
Drug paraphernalia 496 =
Electronics 239
Brace 204 56gr (20z) PURE Crystal Methylone *DOMESTIC* °
Fireworks 34 gr (202) vs CEeene 4
3 :
Food 13 seller: PablosPuro 0.0 2 4.8537
Forgeries 156 ships from: United States of America 1 add to cart
Hardware 35
Home & Garden 28
Jewelry 104
Lab Supplies 30 :
Lotteries & games 169 14gr PURE Crystal Methylone *DOMESTIC* ?
Medical 56 3
Money 269 seller: PablosPuro 0.0 2 B1.5682
Musical instruments 7 ships from: United States of America 1 add to cart
Packaging 91
Services 171
Sporting goods 3
Tickets 4 5
Writing 7 7gr PURE Crystal Methylone *DOMESTIC* 3
3
seller: PablosPuro 0.0 3 BO.8961
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Stimulants i, 644

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2-DPMP 1
3,4DMMC 17
4-EMC 3
4-MEC 24
6-APB 36
A-PVP 35
Caffeine 11
Cocaine 643
D2PM 2
Dimethocaine 2
Ephedrine 39

Ethylphenidate 10

FAs 40
FMAs 22
FMCs i
Khat i
MDPPP 8
Mephedrone 101
Meth 261
MOPPP 1
Pentedrone 17
Speed 266
Cannabis 2,906
Dissociatives 203
Ecstasy 1,304
Intoxicants 71
Opioids 365
Other 82
Precursors 62
Prescription 4,650
Psychedelics 1,746
Tobacco 218
Apparel 753
Art 14
Books 1,322
Collectibles 26

Computer equipment 100

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Digital goods 892

Drug paraphernalia 496

Electronics 239
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Fireworks 34

Food 13

Forgeries 156
Hardware 35
Home & Garden 28
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Lab Supplies 30

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10g MDPV

seller: uhrwerk 0.0
ships from: Germany

5g MDPV

seller: uhrwerk 0.0
ships from: Germany

Bring on the Shadow People! New batch MDPV 1g

seller: nawlins 0.0
ships from: United States of America

1g MDPV

seller: uhrwerk 0.0
ships from: Germany

MDPV Half Gram SUPER COKE 99.5% Pure

seller: FabioQchoa 0.0
ships from: Australia

Bring on the Shadow People! New batch MDPV
10g

seller: nawlins 0.0
ships from: United States of America

CAUTION PURE TAN FLUFFY MDPV 250mg
IFREE SHIP

seller: CrystalMethCat 0.0

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